                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

SWISSDIGITAL USA CO., LTD.

vs.                                                 Case No.: 6:23-cv-196
SAMSONITE INTERNATIONAL S.A.


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Dariush Keyhani                                            , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Swissdigital USA Co., Ltd.                         in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               Keyhani LLC                                                with offices at:

               Mailing address: 1050 30th St. NW

               City, State, Zip Code: Washington, DC 20007

               Telephone: 2027488950                         Facsimile: 2023188958


       2.      Since    4/11/2016                             , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of Washington D.C.              .

               Applicant's bar license number is 1031500                                                .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                        Admission date:
               District of Columbia                          4/11/2016

               Supreme Court of New Jersey                   12/28/2002
4.   Applicant is presently a member in good standing of the bars of the courts listed above,

     except as provided below (list any court named in the preceding paragraph before which

     Applicant is no longer admitted to practice):




5.   I      have         have not previously applied to Appear Pro Hac Vice in this district

     court in Case[s]:

     Number: 6:21-cv-453                  on the 17     day of May                    , 2021 .

     Number:                              on the        day of                        ,         .

     Number:                              on the        day of                        ,         .

6.   Applicant has never been subject to grievance proceedings or involuntary removal

     proceedings while a member of the bar of any state or federal court, except as

     provided:




7.   Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

     except as provided below (omit minor traffic offenses):




8.   Applicant has read and is familiar with the Local Rules of the Western District of Texas

     and will comply with the standards of practice set out therein.
          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: Jacqueline P. Altman, Naman Howell Smith & Lee, PLLC

                 Mailing address: 400 Austin Ave., Suite 800

                 City, State, Zip Code: Waco, Texas 76701

                 Telephone: 254-755-4344


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Dariush Keyhani                           to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Dariush Keyhani
                                                       [printed name of Applicant]


                                                       [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the          day of      0DUFK             , .


                                                        Dariush Keyhani
                                                       [printed name of Applicant]


                                                       [signature of Applicant]
